 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 1 of 36




         EXHIBIT 106-B
    Redacted Version of
Document Sought to be Sealed
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 2 of 36


                                                               Page 1
                     UNITED STATES DISTRICT COURT

                    NORTHERN DISTRICT OF CALIFORNIA




    IN RE:   FACEBOOK, INC.          MDL No. 2843

    CONSUMER PRIVACY USER            Case No. 18-md-02843-VC-JSC

    PROFILE LITIGATION

    ------------------------/




                            CONFIDENTIAL



               REMOTE DEPOSITION OF JACKIE CHANG

                    Thursday, December 16, 2021




    Job No. 4976949

    Reported Remotely and Stenographically by:

    JANIS JENNINGS, CSR No. 3942, CLR, CCRR

    Pages 1 - 312
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 3 of 36


                                                                Page 2
1

2

3

4

5

6

7

8                 REMOTE DEPOSITION OF JACKIE CHANG, located

9    in Hillsborough, California, taken on behalf of the

10   Plaintiffs, beginning at 9:43 a.m., on Thursday,

11   December 16, 2021, sworn remotely by Janis Jennings,

12   Certified Shorthand Reporter No. 3942, CLR, CCRR,

13   located in the City of Walnut Creek, County of

14   Contra Costa, State of California.

15

16

17

18

19

20

21

22

23

24

25
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 4 of 36


                                                                Page 3
1    REMOTE APPEARANCES:

2

3         For Plaintiffs:

4                 KELLER ROHRBACK L.L.P.

5                 BY:   DEREK W. LOESER, ESQ.

6                       DAVID KO, ESQ.

7                       ADELE A. DANIEL, ESQ.

8                 1201 Third Avenue, Suite 3200

9                 Seattle, Washington       98101

10                206.623.1900

11                dloeser@kellerrohrback.com

12                dko@kellerrohrback.com

13                adaniel@kellerrohrback.com

14

15        BLEICHMAR FONTI & AULD LLP

16                BY:   LESLEY E. WEAVER, ESQ.

17                      ANNE K. DAVIS, ESQ.

18                      MATTHEW S. MELAMED, ESQ.

19                555 12th Street, Suite 1600

20                Oakland, California       94607

21                415.445.4003

22                lweaver@bfalaw.com

23                adavis@bfalaw.com

24                mmelamed@bfalaw.com

25
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 5 of 36


                                                                Page 4
1    APPEARANCES:

2

3         FOR DEFENDANT FACEBOOK, INC.:

4                 GIBSON, DUNN & CRUTCHER LLP

5                 BY:    RUSSELL H. FALCONER, ESQ.

6                        LAURA C. MUMM, ESQ.

7                        MATT BUONGIORNO, ESQ.

8                 2001 Ross Avenue, Suite 2100

9                 Dallas, Texas 75201

10                214.698.3100

11                rfalconer@gibsondunn.com

12                lmumm@gibsondunn.com

13                mbuongiorno@gibsondunn.com

14

15        Also Remotely Present:

16                DANIEL GARRIE, SPECIAL MASTER

17                JAMS

18                555 W. 5th Street, 32nd Floor

19                Los Angeles, California 90013

20

21                IAN CHEN, ESQ., Facebook, Inc.

22                SHAWNA HAYNES, Videographer

23

24

25
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 6 of 36


                                                               Page 69
1    again?                                                         11:23

2        Q.    Do you know when Facebook first started              11:23

3    using APIs with its partners?                                  11:23

4        A.    I'm not sure I understand that question.             11:23

5    Technically, I don't know.                                     11:23

6        Q.    Do you know who came up with the various             11:23

7    APIs that Facebook has?                                        11:23

8        A.    No.                                                  11:23

9        Q.    Are you familiar with the concept of Friend          11:23

10   Sharing on the Facebook platform?                              11:23

11       A.    I think I've heard of it, but I don't know           11:23

12   what it is.                                                    11:23

13       Q.    Are you aware that on the Facebook platform          11:23

14   for a period of time, when a friend downloaded an              11:24

15   app, that app could obtain access to that person's             11:24

16   friends via Friend Sharing APIs?                               11:24

17             MR. FALCONER:   Objection.    Form.                  11:24

18             Go ahead.                                            11:24

19             THE WITNESS:    I don't remember.                    11:24

20   BY MR. LOESER:                                                 11:24

21       Q.    You don't remember anything about that?              11:24

22       A.    No.                                                  11:24

23       Q.    That's not something you were involved at            11:24

24   all in?                                                        11:24

25       A.    I don't remember.                                    11:24
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 7 of 36


                                                                   Page 92
1

                                                " --                11:56

3              DEPOSITION REPORTER:    "However, in the             11:56

4                                                      ..."   Go    11:56

5    ahead, please.

6    BY MR. LOESER.

7        Q.    "...




                          ."                                        11:56

13             Do you see that?                                     11:56

14       A.    Yes.                                                 11:56

15       Q.    Now, Miss Chang, do you recall being                 11:56

16   involved in the -- making the changes that are                 11:56

17   referred to here?                                              11:56

18       A.    I don't.                                             11:56

19       Q.    Why don't we go down this document to                11:56

20   page 2, under the heading "                       ."           11:56

21             Do you remember your involvement and the             11:56

22   conversation about                     ?                       11:56

23       A.    I remember                       as a concept,       11:56

24   but I don't remember specific conversations.                   11:57

25       Q.    Okay.   What was "                   " as a          11:57
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 8 of 36


                                                               Page 94
1        Q.    "Apps can still




                          ."                                        11:58

10             Do you see that?                                     11:58

11       A.    Yes.                                                 11:58

12       Q.    Do you recall conversations around                   11:58

13                                     ?                            11:58

14       A.    I don't.                                             11:58

15       Q.    You have no memory of that?                          11:58

16       A.    Not specifically.                                    11:58

17       Q.    Do you know what "deprecate" means?                  11:58

18       A.    Yes.   To -- to remove or wind down or end.          11:58

19       Q.    And so what




                      t; is that right?                             11:59

23       A.    Whatever was stated there.                           11:59

24       Q.    And so

                                                       , and        11:59
 Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 9 of 36


                                                              Page 101
1        A.    So I --                                              12:08

2              MR. FALCONER:   Objection to form.                   12:08

3              THE WITNESS:    So I don't remember enough to        12:08

4    make that connection.                                          12:08

5    BY MR. LOESER:                                                 12:08

6        Q.    So looking at your email, it looks like you          12:08

7    came up with a format for dealing with T0 partners             12:08

8    with non-standard agreements and specific                      12:09

9    categories; is that right?                                     12:09

10             DEPOSITION REPORTER:    Excuse me.    There was      12:09

11   an interruption in the audio.     Can you repeat your          12:09

12   question, please, Counsel.                                     12:09

13   BY MR. LOESER:                                                 12:09

14       Q.    Yeah.   Looking at your email, it appears            12:09

15   that



                               ; right?                             12:09

18       A.    So, then, I don't remember enough to make            12:09

19   that assertion.                                                12:09

20       Q.    Okay.   Well, let's just look through your           12:09

21   tabs.    The first tab you have -- these are your              12:09

22   words; right?     You wrote this email?                        12:09

23       A.    It looks like it, yes.                               12:09

24       Q.                                      means              12:09

25   something --
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 10 of 36


                                                             Page 104
1                                                                   12:12

2



                                                                    12:12

5        A.   Again, I --                                           12:12

6             MR. FALCONER:    Objection.   Form.                   12:12

7             THE WITNESS:    -- I don't recall at the time         12:12

8    to specify exactly what it is connected to.                    12:12

9    BY MR. LOESER:                                                 12:12

10       Q.   Just a blank slate for you?                           12:12

11            MR. FALCONER:    Objection.   Form.                   12:12

12            THE WITNESS:    Sorry.   Is that a question           12:12

13   or...                                                          12:12

14   BY MR. LOESER:                                                 12:12

15       Q.   Yeah.   Yeah.   Even looking at the email that 12:12

16   you wrote about this, you just can't remember                  12:12

17   anything about it?                                             12:12

18       A.   Yes.    So, again, I was transitioning to a           12:12

19   new role, so this was not the top of my mind, and I            12:12

20   don't remember this.                                           12:12

21       Q.   Is it fair to say that it was at the top of           12:12

22   your mind when you wrote this?                                 12:12

23       A.   I don't remember at that time.                        12:12

24       Q.   Well, let's look at the next bullet:                  12:12

25            "                                                     12:13
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 11 of 36


                                                             Page 105
1               that use




                                                                    12:13

5               Facebook."                                          12:13

6               What does it mean if something is of                12:13

7    "                       Facebook"?                             12:13

8          A.   So I can't infer what it meant at that time, 12:13

9    but

                             .                                      12:13

11         Q.   Okay.   And so you're making a recommendation 12:13

12   here for how to deal with integrations that involve            12:13

13   strategic value; is that right?                                12:13

14         A.   I don't remember specifically, so I don't           12:13

15   know how to answer that.                                       12:13

16         Q.   Okay.   It looks like in the email, you knew        12:13

17   enough about what read stream was or friend data to            12:13

18   use those words in this email and talk about what              12:13

19   should happen with that?                                       12:14

20         A.   So, again, I don't remember enough at the           12:14

21   time to say that was the state of my mind.      I don't        12:14

22   know.                                                          12:14

23         Q.   And what do you mean when you say, "Should          12:14

24

                                   "?                               12:14
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 12 of 36


                                                             Page 118
1    that you came up with for dealing with, among                  12:27

2    others,

                                            ; right?                12:27

4              MR. FALCONER:   Objection.   Argumentative.          12:27

5              THE WITNESS:    So, again, I don't know.             12:27

6    BY MR. LOESER:                                                 12:27

7        Q.    Now, Miss Chang, you were directly involved          12:28

8    in making the determination -- coming up with a                12:28

9    framework for the determination of what



                 ; right?                                           12:28

12       A.    So, again, I don't remember enough to say            12:28

13   that it was a determination.     I just prepared a             12:28

14                                                       , as       12:28

15   it said in the email.                                          12:28

16       Q.    Tell me everything you can remember about            12:28

17   your involvement in figuring out which



                 .                                                  12:28

20       A.    So, again, I don't remember.     I moved on to       12:28

21   Internet.org.    I don't know what happened after that         12:28

22   spreadsheet.                                                   12:28

23       Q.    I didn't ask you if you remember what                12:28

24   happened after that.     I am just asking you to               12:28

25   describe for me, what is the sum total of what you             12:28
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 13 of 36


                                                               Page 119
1    remember about your role in figuring out which                 12:28

2

                .                                                   12:29

4        A.   I don't remember.                                     12:29

5        Q.   Did you receive annual performance reviews?           12:29

6        A.   In what year?                                         12:29

7        Q.   In any year.                                          12:29

8        A.   I received a performance review.                      12:29

9        Q.   And in connection with your performance               12:29

10   review, were you required to describe what you did             12:29

11   during the year that was being reviewed?                       12:29

12       A.   I believe so, yes.                                    12:29

13       Q.   And in those performance reviews, were you            12:29

14   careful to make sure that you described all of the             12:29

15   important, or at least the most important things,              12:29

16   you worked on?                                                 12:29

17       A.   At that time, yes.                                    12:29

18       Q.   And so if this transition to Platform 3 and           12:29

19   your role in

                                                         was        12:29

21   an important part of that year, that would be likely           12:29

22   discussed in the performance review?                           12:30

23       A.   I don't know.    I can't speculate that.              12:30

24       Q.   Okay.   Would that be generally an accurate           12:30

25   statement, though, that the tasks that you performed           12:30
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 14 of 36


                                                             Page 161
1        Q.   And under the heading,

              " can -- the first bullet says,

                                          then "

                "

                          ."                                        14:26

6             Do you see that?                                      14:26

7        A.   Yes.                                                  14:26

8        Q.   And, Miss Chang, do you recall being                  14:26

9    involved in the

                ?                                                   14:26

11       A.   No, I don't recall.                                   14:26

12       Q.   And do you recall the effort to figure out            14:26

13                                                      ?           14:26

14       A.   I don't remember.                                     14:26

15       Q.   Do you remember anything at all about any             14:26

16   involvement you had in the subject matter of                   14:26

17   whitelists?                                                    14:26

18       A.   Sorry.   Can you state that question again?           14:26

19       Q.   Do you remember being involved in any way in 14:26

20   figuring out                                            ?      14:26

21       A.   Not -- I don't remember.                              14:26

22       Q.   This slide over on the right side refers to           14:27

23   "                                          . "                 14:27

24            Was the rollout to

                ?                                                   14:27
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 15 of 36


                                                              Page 163
1        A.   Yes, I see that there.                                14:28

2        Q.   And do you see that those are -- those



                                                         .    Is    14:29

5    that your understanding?                                       14:29

6        A.   So -- yeah, so I don't know the context of            14:29

7    that, so I don't -- I don't know if it really is or            14:29

8    isn't.                                                         14:29

9        Q.   Okay.   But you see that for



                                                         "?         14:29

12       A.   Yes, I see that.                                      14:29

13       Q.   And do you see under



                                           "?                       14:29

16       A.   Yes, I see that.                                      14:29

17       Q.   Okay.   Go to the next slide.                         14:29

18            Now, Miss Chang, you were involved in                 14:29

19   preparing for the deprecations of these permissions,           14:29

20   were you not?                                                  14:29

21       A.   Again, I -- I don't remember.                         14:30

22       Q.   Okay.   If you look at the first bullet, it           14:30

23   says:                                                          14:30

24            "

                                                                    14:30
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 16 of 36


                                                             Page 164
1                                      )."                          14:30

2             Do you recall there being

                                               ?                    14:30

4        A.   Again, I don't remember this.                         14:30

5        Q.   Okay.   And you look at the next one:                 14:30

6             "



                                  ."                                14:30

9             Do you recall what that refers to?                    14:30

10       A.   No.                                                   14:30

11       Q.   This next bullet item is:                             14:30

12            "




                             ."                                     14:30

16            Do you have an understanding of what                  14:30

17   "extensions" are?                                              14:30

18       A.   I know what an extension is, but I don't --           14:30

19   I don't recognize in this context.                             14:30

20       Q.   Yeah.   You don't recall in any way your              14:30

21   involvement in sorting out whether



                  ?                                                 14:31

24       A.   I don't remember.                                     14:31

25       Q.   Okay.   And:                                          14:31
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 17 of 36


                                                             Page 165
1             "



                      to Facebook."                                 14:31

4             That must be something that you remember;             14:31

5    right?                                                         14:31

6        A.   I don't remember it.                                  14:31

7        Q.   Okay.    You don't recall the role you played         14:31

8    in determining which



                       to Facebook?                                 14:31

11       A.   Correct.    I don't remember.                         14:31

12       Q.   As you sit here today, can you recall the             14:31

13   difference between

                                      ?                             14:31

15       A.   No, I can't.                                          14:31

16       Q.   Do you think you ever knew what the                   14:31

17   difference was?                                                14:31

18       A.   I don't know.                                         14:31

19            MR. LOESER:    We can go to the next exhibit.         14:31

20            (Exhibit 13 marked for identification.)               14:32

21   BY MR. LOESER:                                                 14:32

22       Q.   This will be Exhibit 13, which is an                  14:32

23   email from Simon Cross to you and others, dated                14:32

24   December 10th, 2013, the subject "Re:      Simon's             14:32

25   updates - 6th of December."                                    14:32
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 18 of 36


                                                             Page 168
1             MR. FALCONER:    Objection.                           14:35

2             THE WITNESS:     I don't remember.                    14:35

3    BY MR. LOESER:                                                 14:35

4        Q.   Okay.   Well, let's look at what it says you          14:35

5    were doing --                                                  14:36

6             SPECIAL MASTER GARRIE:     Sorry.    When we get      14:36

7    to a breaking point -- any idea when that may be?              14:36

8             MR. FALCONER:    I was thinking after the             14:36

9    next -- after we are done with this document.                  14:36

10            MR. LOESER:    That's fine.                           14:36

11            SPECIAL MASTER GARRIE:     And then I would           14:36

12   like all the lawyers to be moved into another room.            14:36

13   Thank you.                                                     14:36

14   BY MR. LOESER:                                                 14:36

15       Q.   Miss Chang, if you look at the

                         , you will see the last bullet.            14:36

17   Can you read that last bullet, please?                         14:36

18       A.   "Jackie leading on putting together                   14:36

19            a

                          ."                                        14:36

21       Q.   And is that accurate?                                 14:36

22       A.   Again, I don't remember.                              14:36

23       Q.   So as you sit here today, you have zero               14:36

24   recollection of your being

                                                                    14:36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 19 of 36


                                                                Page 169
1                  ?                                                14:36

2        A.    I don't remember this specifically.                  14:36

3        Q.    Do you remember anything at all about it?            14:36

4        A.    No, I don't.                                         14:36

5        Q.    Okay.    Let's move up the string to page 2 of 14:37

6    the string under the same heading,

                       ."                                           14:37

8              You will see that this update, if you go             14:37

9    farther up the string, is November 25th, 2013.       It        14:37

10   was sent by Simon Cross.       The first recipient in the      14:37

11   "to" list is you.                                              14:37

12             Do you see that?                                     14:37

13       A.    Sorry.       What date?                              14:37

14       Q.    November 25th, 2013.                                 14:37

15       A.    Okay.                                                14:37

16       Q.    First recipient, first person Simon put on           14:37

17   that "to" line was Jackie Chang; right?                        14:37

18       A.    Well, I don't know if I'm -- I'm the first           14:37

19   person that shows up there.                                    14:37

20       Q.    All right.      And let's go down to "

                       ."    So why don't you read the second       14:37

22   bullet.                                                        14:37

23       A.    "                             -- Jackie              14:37

24             working closely with Marie and

                                                                    14:37
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 20 of 36


                                                             Page 170
1




                                ."                                  14:38

6          Q.   So do you remember working closely with             14:38

7    Marie in                                                       14:38

8          A.   I don't.                                            14:38

9          Q.   And who is Marie?                                   14:38

10         A.   I don't know which Marie it may be referring 14:38

11   to.                                                            14:38

12         Q.   Okay.   And so, Miss Chang, you're telling          14:38

13   the jury that even though this bullet indicates that           14:38

14   you were "working closely with Marie in



           ," you have utterly no recollection of anything          14:38

17   relating to that task?                                         14:38

18         A.   Correct.                                            14:38

19              MR. LOESER:   This is a fine time to take a         14:38

20   break, as Special Master Garrie has requested.                 14:38

21              THE VIDEOGRAPHER:    Okay.   This marks the end 14:39

22   of media No. 3 in the deposition of Jackie Chang.              14:39

23   Going off the record.     The time is 2:39.                    14:39

24              (Off the record.)                                   14:39

25              THE VIDEOGRAPHER:    This marks the beginning       15:04
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 21 of 36


                                                              Page 182
1        A.    Yes.                                                 15:20

2        Q.    Okay.   If you could please read the third           15:20

3    bullet.                                                        15:20

4        A.    "

                                                       -            15:20

6              apps will only




                                                                    15:20

13       Q.    Okay.   And do you recall the -- that as part 15:20

14   of this PS12 update, there was going to be the                 15:20

15   removal of access to non-app friends permissions?              15:20

16       A.    So I don't remember.                                 15:21

17       Q.    Okay.   And if you look at -- can you read           15:21

18   the next bullet.                                               15:21

19       A.    "



                                      ."                            15:21

22       Q.    Okay.   Do you know what that means and do           15:21

23   you recall that happening?                                     15:21

24       A.    I know what I think

                                                    , but I         15:21
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 22 of 36


                                                             Page 216
1        A.   Yes.    I remember the slide.                         16:24

2        Q.   Right.   And you helped develop those                 16:24

3    categories; right?                                             16:24

4        A.   I don't remember specifically.                        16:24

5        Q.   But your email appears to indicate that you           16:24

6    helped to develop those categories; right?                     16:24

7        A.   So, again, whatever the email says, but I             16:24

8    don't remember that specific moment in time.                   16:25

9        Q.   And Miss Chang, do you know how many total            16:25

10   apps and partners were given continued access to               16:25

11   friends permissions?                                           16:25

12       A.   No, I don't.                                          16:25

13       Q.   How about read permissions?                           16:25

14       A.   I don't.                                              16:25

15       Q.   Do you know if there were records kept of             16:25

16   all the apps and partners that were given continued            16:25

17   access to friends and read permissions?                        16:25

18       A.   I don't know.                                         16:25

19       Q.   Who would know that?                                  16:25

20       A.   I don't -- I don't know.                              16:25

21       Q.   Okay.    You have no idea?                            16:25

22       A.   Not for an individual person, no.                     16:25

23       Q.   And so in your work now with academic                 16:25

24   partnerships, if you wanted to figure out if an                16:25

25   academic partner had continued access to friends               16:25
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 23 of 36


                                                             Page 219
1    know if it could be classified as whitelist.                   16:28

2        Q.   The term "whitelist" is not one you have              16:28

3    used so frequently that you remember to this day               16:28

4    what it means?                                                 16:28

5        A.   No.                                                   16:28

6        Q.   Do you have any idea of the process that's            16:28

7    used to determine if an app developer or partner is            16:28

8    whitelisted so that they have continued access to              16:28

9    friends permissions?                                           16:28

10       A.   Yeah.   I don't recall it.                            16:28

11       Q.   Do you know if Facebook keeps records of              16:28

12   whitelisted developers/partners?                               16:28

13       A.   I don't know.                                         16:28

14       Q.   You have no recollection at all as to                 16:28

15   whether that information is collected and maintained           16:29

16   in one place so that someone could easily find out             16:29

17   who are all of the whitelisted partners or                     16:29

18   developers?                                                    16:29

19       A.   So again --                                           16:29

20            MR. FALCONER:    Asked and answered.                  16:29

21            THE WITNESS:    -- that's outside my scope, so 16:29

22   I don't know.                                                  16:29

23   BY MR. LOESER:                                                 16:29

24       Q.   Now, if we go back to slide -- I'm sorry,             16:29

25   deck -- Exhibit 12 for a minute.     And if you look at        16:29
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 24 of 36


                                                             Page 223
1             THE WITNESS:    So, again, I don't -- I don't         16:34

2    remember, so I can't assume.                                   16:34

3    BY MR. LOESER:                                                 16:34

4        Q.   Did you have any interaction with a partner           16:35

5    in a discussion of the information -- the                      16:35

6    permissions the partner was interested in, where               16:35

7    they said to you, Hey, we want to arrange so that we           16:35

8    have permission to access friends_video?                       16:35

9        A.   I don't remember specifically like                    16:35

10   individual permissions.                                        16:35

11       Q.   Okay.   Do you remember any conversations at          16:35

12   all about friends permissions with any partner?                16:35

13       A.   I don't remember specifically anything about 16:35

14   friends permission.                                            16:35

15       Q.   Do you remember anything generally about              16:35

16   friends permissions?    And particularly, I'm asking           16:35

17   if any partner that you have worked with raised that           16:35

18   as a permission that they were interested in gaining           16:35

19   access to.                                                     16:35

20       A.   I don't -- I don't -- I don't recall.                 16:35

21            MR. LOESER:    Okay.   We can go to Exhibit 21. 16:36

22            (Exhibit 20 marked for identification.)               16:36

23            MR. LOESER:    Oh, is it 20?    Yeah.                 16:36

24            While that's being loaded, for the record,            16:36

25   this is an email from Simon Cross to, among others,            16:36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 25 of 36


                                                             Page 224
1    yourself, dated October 24th, 2013, "Subject:                  16:37

2                                              - feedback by        16:37

3    end of day Sunday, please."     With attachment,               16:37

4    "                                   ," attaching an            16:37

5    Excel spreadsheet.                                             16:37

6    BY MR. LOESER:                                                 16:37

7        Q.   Do you see that document, Miss Chang?                 16:37

8        A.   I see the email, yes.                                 16:37

9        Q.   So this email starts with Mr. Cross saying:           16:37

10            "Hi guys, Over the last few weeks,                    16:37

11            you'll have noticed



                                     Going forward, this            16:37

14                                                                  16:37

15            of our lives -- it's where




                                     "                              16:38

23            Did I read that accurately?                           16:38

24       A.   Yes, you -- yes.                                      16:38

25       Q.   Do you recall receiving this email and the            16:38
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 26 of 36


                                                             Page 225
1    attachment that it provides?                                   16:38

2        A.   I don't recall it specifically.                       16:38

3        Q.   Do you recall it at all?                              16:38

4        A.   No, I don't.                                          16:38

5        Q.   And can you tell me what "app-based GKs"              16:38

6    are?                                                           16:38

7        A.   I don't know.                                         16:38

8        Q.   You have no recollection whatsoever?                  16:38

9        A.   No.   Again, I'm not -- I'm not the technical 16:38

10   person, so I just don't -- I don't know technically            16:38

11   what it would mean.                                            16:38

12       Q.   Okay.   Do you know what the Capabilities             16:38

13   tool was?                                                      16:38

14       A.   Not specifically.    I've heard of it, but I          16:38

15   don't know it in detail.                                       16:39

16       Q.   Well, what have you heard about it?                   16:39

17       A.   It looks like some sort of permissioning              16:39

18   tool.                                                          16:39

19       Q.   And what does that mean?                              16:39

20       A.   It grants permissions.                                16:39

21       Q.   Who does it grant permissions to?                     16:39

22       A.   So, again, I don't -- I don't know the                16:39

23   technical specifics, so I don't feel comfortable               16:39

24   talking about it in depth because I might                      16:39

25   mischaracterize it.                                            16:39
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 27 of 36


                                                             Page 226
1        Q.   Okay.   You've said all that you feel                 16:39

2    comfortable saying about it?                                   16:39

3        A.   Well, like all that I know about it.                  16:39

4        Q.   And before I asked you if there was a place           16:39

5    where whitelists were managed, and this seems to               16:39

6    indicate that

                                                     .              16:39

8             Does that refresh your recollection about             16:39

9    where whitelists are managed?                                  16:39

10       A.   No.                                                   16:39

11       Q.   Okay.   And this uses the term "

                     ," which previously we saw you were            16:40

13   tasked with various things having to do with                   16:40

14                            .                                     16:40

15            Can you provide any more information on your 16:40

16   understanding of                            ?                  16:40

17            MR. FALCONER:    Objection.   Form.                   16:40

18            THE WITNESS:    No.   Again, this wasn't the          16:40

19   top of like my -- my focus, so I don't really have a           16:40

20   lot of recollection around this.                               16:40

21   BY MR. LOESER:                                                 16:40

22       Q.   Do you recall that based on the information           16:40

23   that was sent to you here and the description of               16:40

24   this email, there were

                                                                    16:40
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 28 of 36


                                                             Page 240
1    yes, it seems like I'm posing the question.                    17:01

2        Q.    So, certainly, as of the date of this email, 17:01

3    March 24, 2014, you knew that there would be




                   d; right?                                        17:02

7        A.    So I don't know, at that moment in time.             17:02

8        Q.    So looking at what you wrote, you're telling 17:02

9    me you can't determine, based on what you wrote,               17:02

10   that there were

                                                       for          17:02

12   PS12N?                                                         17:02

13       A.    I know what I wrote, but I don't remember it 17:02

14   in specificity where I would know the full context             17:02

15   of what you're implying.                                       17:02

16       Q.    Okay.   Do you have any reason to believe            17:02

17   that the information that you wrote in this email is           17:02

18   inaccurate?                                                    17:02

19       A.    I don't know.                                        17:02

20       Q.    You don't have any reason to believe that,           17:02

21   do you?                                                        17:02

22       A.    I mean, there's always a possibility of              17:02

23   inaccuracy, but I don't know.     It's not my intent to        17:02

24   be inaccurate.                                                 17:03

25       Q.    Did you have any involvement at any point in 17:03
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 29 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 30 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 31 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 32 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 33 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 34 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 35 of 36
Case 3:18-md-02843-VC Document 991-9 Filed 08/15/22 Page 36 of 36
